        Case 1:14-ml-02570-RLY-TAB Document 19859 Filed 09/08/21 Page 1 of 1 PageID #:
                                         123292
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                Southern District
                                             __________  District of
                                                                  of Indiana
                                                                     __________


                  CHARLES H. FOWLER                            )
                             Plaintiff                         )
                                v.                             )      Case No.     1:21-cv-06586
              COOK INCORPORATED, et al                         )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Charles H. Fowler                                                                                            .


Date:          09/08/2021                                                                  s/ Monte Bond
                                                                                         Attorney’s signature


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